               IN THE UNITED STATES DISTRICT COURT FOR THE
                       WESTERN DISTRICT OF MISSOURI
                            WESTERN DIVISION

UNITED STATES OF AMERICA,                    )
                                             )
                      Plaintiff,             )
                                             )
         v.                                  )   Criminal Action No.
                                             )   05-00265-02-CR-W-FJG
                                             )
SULPISO LOPEZ-HERNANDEZ,                     )
                                             )
                      Defendants.            )

                MEMORANDUM OF MATTERS DISCUSSED AND
                ACTION TAKEN AT PRETRIAL CONFERENCE

       Pursuant to the order of the Court en banc of the United States District Court for

the Western District of Missouri, a pretrial conference was held in the above-entitled

cause before me on February 3, 2006. Defendant Hernandez appeared in person and with

his appointed counsel John Lozano. The United States of America appeared by Assistant

United States Attorney Kate Mahoney.

I.     BACKGROUND

       On December 7, 2005, a superseding indictment was returned charging Defendant

Hernandez with: (1) one count of conspiracy to distribute methemphetamine, in violation

of 21 U.S.C. §§ 841(a)(1) and (b)(1)(A), 846; (2) one count of possession with the intent

to distribute methamphetamine, in violation of 21 U.S.C. § 841(a)(1) and (b)(1)(B), and

18 U.S.C. § 2; and (3) one count of unlawful reentry in to the United States after having

been deported, in violation of 8 U.S.C. § 1326(a) and (b)(2).




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         The following matters were discussed and action taken during the pretrial

conference:

II.      TRIAL COUNSEL

         Ms. Mahoney announced that she will be the trial counsel for the government.

The case agent to be seated at counsel table is Detective John Howe, Independence Police

Department .

         Mr. Lozano announced that he will be the trial counsel for Defendant Hernandez.

III.     OUTSTANDING MOTIONS

         There are no pending motions in this case.

IV.      TRIAL WITNESSES

         Ms. Mahoney announced that the government intends to call ten to twelve

witnesses without stipulations or nine to ten witnesses with stipulations during the trial.

         Mr. Lozano announced that Defendant Hernandez does not intend to call any

witnesses during the trial. Defendant Hernandez will testify.

V.       TRIAL EXHIBITS

         Ms. Mahoney announced that the government will offer approximately thirty

exhibits in evidence during the trial.

         Mr. Lozano announced that Defendant Hernandez will offer no exhibits in

evidence during the trial.

VI.      DEFENSES



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         Mr. Lozano announced that Defendant Hernandez will rely on the defense of

general denial.

VII.     POSSIBLE DISPOSITION

         Mr. Lozano stated this case is definitely for trial.

VIII. STIPULATIONS

         Stipulations are not likely.

IX.      TRIAL TIME

         Counsel were in agreement that this case will take two days to try.

X.       EXHIBIT LIST, VOIR DIRE AND INSTRUCTIONS

         The U. S. Magistrate Judge ordered:

         That, in addition to the requirements of the Stipulations and Orders filed
         September 13, 2005, counsel for each party file and serve a list of exhibits he or
         she intends to offer in evidence at the trial of this case on the form entitled Exhibit
         Index and have all available exhibits premarked using the stickers provided by the
         Clerk of Court by or before February 3, 2006;

         That counsel for each party file and serve requested jury voir dire examination
         questions by or before noon, Wednesday, February 8, 2006;

         That counsel for each party file and serve, in accordance with the requirements of
         Local Rule 51.1, requested jury instructions by or before noon, Wednesday,
         February 8, 2006. Counsel are requested to provide proposed jury instructions in
         both hard copy form, as required by Local Rule 51.1, and, if available to counsel,
         3 and 1/2 inch computer disk in a form compatible with WordPerfect 9.0, 10.0, or
         11.0.

XI.      UNUSUAL QUESTIONS OF LAW

         No motions in limine are anticipated. There are no unusual questions of law.



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XII.     TRIAL SETTING

         All counsel and the defendants were informed that this case will be listed for trial

on the joint criminal jury trial docket which commences on February 13, 2006. The

parties request the first week of the trial docket because the case agent (Detective Howe)

will be in New Mexico for training during the second week.

         A Spanish-speaking interpreter is required.




                                                /s/ Robert E. Larsen
                                               ROBERT E. LARSEN
                                               United States Magistrate Judge

Kansas City, Missouri
February 3, 2006

cc:      The Honorable Fernando Gaitan, Jr.
         Ms. Kate Mahoney
         Mr. John Lozano
         Mr. Jeff Burkholder




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